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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

JOHN NEWMAN                        :
                                   :
          Plaintiff,               :       Civil Action No. 1:20-cv-3761(TNM)
                                   :
    v.                             :
                                   :
FEDERAL BUREAU OF                  :
PRISONS and UNITED                 :
STATES PAROLE COMMISSION,          :
                                   :
          Defendants.              :

 MEMORANDUM OF OPPOSING POINTS AND AUTHORITIES IN RESPONSE TO
  DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT AND IN SUPPORT OF
       PLAINTIFF’S CROSS-MOTION FOR SUMMARY JUDGMENT




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                                        INTRODUCTION

       Plaintiff, John Newman, by counsel, in support of his opposition to Defendants Bureau of

Prisons (“BOP”) and United States Parole Commission’s (“USPC”) Motion for Summary

Judgment and in support of his Cross-Motion for Summary Judgment against the Defendants,

offers the following memorandum of points and authorities.

                                        BACKGROUND

       Plaintiff, Dr. John Newman (“Newman” or “Plaintiff”), is a retired Army officer

presently employed as a political science professor at James Madison University (“JMU”) in

Harrisonburg, Virginia where he teaches classes and seminars on Cold War America and the

presidency of John F. Kennedy. Dr. Newman has been engaged in scholarly academic research

of Cold War America and the Kennedy presidency for the past thirty-three years. His work is

designed to compile scholarly research on Cold War America and the presidency of John F.

Kennedy for use in publications, the classes he teaches, and for other educational purposes and

distributional fora. He also presents educational materials on the Cold War and the Kennedy

presidency at various seminars and colloquia, and publishes the results of his research in the

form of books and articles. As examples, in the past ten years he has taught classes on

Counterterrorism, International Terrorism, and America in the 1960s at JMU. He has done

presentations on subjects directly related to the Kennedy administration to the faculty and staff of

JMU, and at major conferences in Dallas, Texas, and online presentations sponsored by Project

JFK and JMU. Newman Decl. ¶ 2.

       Dr. Newman holds a Ph.D. in Modern Far Eastern History from George Washington

University. After having held military assignments to the National Security Agency (“NSA”),

including as military representative to General William Odom, Director of the NSA, Newman

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retired from the Army holding a rank of Major. He has been employed as a college level

professor for forty years at the University of Maryland Honors College and JMU. He has

published six books and numerous articles on historical subjects with a concentration on the

history of the United States during the Cold War with a specialization in the Kennedy

Administration. Id. ¶ 3. As a result of his recent research into the Kennedy administration, the

case of a former Cuban exile, Manuel Antonio Carlos Veciana Blanche (“VECIANA”), has

become of critical interest and importance to several questions that have arisen. Id. ¶ 4.

       On 13 March 1974 Veciana was sentenced to two concurrent seven-year terms, with an

additional Special Parole of three years. Veciana was incarcerated in the United States

Penitentiary in Atlanta (“Atlanta Penitentiary”) by the United States District Court for the

Southern District of New York (“SDNYDC”) after a conviction on drug charges. Id. ¶ 5; Compl.

Ex. 1, ECF No. 1-1 at p. 8. Veciana was released on parole in mid-February 1976. Veciana, who

died 18 June 2020, had stated under oath that he was on parole as he testified before the United

States House of Representatives’ Select Committee on Assassinations (“HSCA”) in May of

1978. Newman Decl. ¶ 6; Compl. Ex. 10, ECF No. 1-1 at p. 72.

       Newman sought records related to Veciana by filing requests under the Freedom of

Information Act, 5 U.S.C. § 552, (“FOIA”) directed to the BOP and the USPC as described in

the Complaint filed herein. See Compl. ¶¶ 8, 18 and Exs. 1, 7; ECF Nos. 1 at pp. 3, 5 and 1-1 at

pp.1, 49.

       At this point in the litigation, Newman is satisfied that the Defendant BOP has conducted

an adequate search for the records he requested from them and has produced the records of the

destruction of the documents sought. He has consequently, by counsel, offered to file an agreed



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stipulation of dismissal, subject to satisfactory negotiation of the terms of the stipulation,

dismissing his claim against the BOP.

       Newman’s FOIA request to the USPC identified the subject of the request as “Manuel

Antonio Carlos Veciana Blanche and advised that in 1974 he had been sentenced in the

SDNYDC to seven years of incarceration with an additional three years of Special Parole.

Compl. Ex. 7, ECF No. 1-1 at p. 49. The request informed the agency that Veciana was paroled

in 1976. The request informed the agency of Veciana’s death on 18 June 2020. Id. Newman

also provided the USPC with copies of Veciana’s indictment in Case No. 73 CR ***, the

superseding indictment in Case No. 74 CR 7, the court’s Judgment and Commitment order in

Case No. 74 CR 7, and a copy of Veciana’s online obituary. Id. at pp. 57, 60, 53 and 54.

       On 23 July 2020 Newman requested that the USPC search for and provide:

       “A.    Any and all records in your possession or control relating to or regarding Mr.
              Veciana’s parole from prison.
       B.     Any and all correspondence in your possession or control relating to or regarding
              Mr. Veciana, including but not limited to correspondence with any other branch
              or department of the United States government, or any state government or
              foreign government, regarding or related to Mr. Veciana.
       C.     Any and all telephone call records in your possession or control relating to or
              regarding Mr. Veciana.
       D.     Any and all recordings of any type of any interview, telephone call, hearings, or
              other event in your possession or control relating to or regarding Mr. Veciana.
       E.     Any and all transcripts of any and all recordings of any type of any interview,
              telephone call, hearing, or other event in your possession or control relating to or
              regarding Mr. Veciana.
       F.     Any and all photographs in your possession or control relating to or regarding Mr.
              Veciana.
       G.     Any and all reports prepared pursuant to 18 U.S.C § 4208, in effect at the time of
              Mr. Veciana’s incarceration and parole, in your possession or control relating to
              or regarding Mr. Veciana.
       H.     Your full file on Mr. Veciana.
       I.     Any other document you have in your possession and control relating to or
              regarding Mr. Veciana while he was in your custody or on parole.
       J.     If you claim that a record responsive to requests A to I above has been destroyed
              in whole or in part, please provide any and all records of that destruction,
              including but not limited to records indicating the date of destruction, a
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               description of exactly what was destroyed, any cited authority for the destruction,
               and any identifying information regarding the person(s) who accomplished and
               recorded the destruction.”

Id. at pp. 49-50.

       The USPC responded by letter dated 3 August 2020 to Newman’s FOIA request. Compl.

Ex. 9, ECF No. 1-1 at p. 65. The USPC, assigning Tracking Number USPC-2020-000279 to

Newman’s request, reported that it did not have a file on Veciana and suggested three possible

reasons for not having a file: 1) that Veciana had been or was serving a non-paroleable sentence;

2) that Veciana was serving a state sentence rather than a federal sentence; or 3) that Veciana had

not served the minimum term necessary to be eligible for parole or had not yet applied for parole.

Id.

       All three reasons suggest by USPC for not having a file were inapplicable to Veciana as

should have been known to the USPC from the information and documentation provided by

Newman with his request. This was pointed out to USPC by a letter from Newman dated 15

August 2020. Compl. Ex. 10, ECF No. 1-1 at p. 66. As an additional indication that Veciana had

been placed on parole, Newman provided the USPC a copy of an excerpt from Veciana’s sworn

testimony before the HSCA where he testified that he was on parole at the time of the hearing in

April of 1978. Id. at p. 68. Newman suggested to the USPC that it may not have been searching

all the reasonable name variations of Veciana’s five names and asked again that a search be

made using all reasonable variations of Veciana’s five names and, specifically, that a search be

made using “Antonio Veciana.” Id. at p. 66. Newman again provided USPC with copies of the

indictment and the superseding indictment both of which referred to Veciana as “Antonio

Veciana.” Id. at pp. 73, 78.




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       A USPC Government Information Specialist (“GIS”) contacted Newman by electronic

mail on 15 September 2020 asking for Veciana’s date of birth, social security number or federal

register number. Compl. Ex. 11, ECF No. 1-1 at p. 84. Newman provided Veciana’s date of

birth by return email the same day. Id. at p. 85. On 17 September 2020 USPC sent another copy

of its form letter suggesting the same three reasons for it not having a file on Veciana as had

been suggested in the letter of 3 August 2020. Compl. Ex. 12, ECF No. 1-1 at p. 86.

       A 27 October 2020 letter from Newman provided USPC information he had recently

obtained from BOP that Veciana’s federal register number was 80071-158. Compl. Ex. 13, ECF

No. 1-1 at p. 87. USPC was also advised that BOP appeared to have maintained its file on

Veciana under the name “Blanche Veciana, Manuel Antonio Carlos.” Id. A request was made for

USPC to use this new information to “renew and expand” its search. Id. A copy of the BOP

form containing the transmitted information was also provided. Id.

       On 5 November 2020 USPC responded by letter to Newman that it had “used all the

information provided to research [Veciana] to no avail.” The letter went on to state that USPC

had searched by the federal register number provided by BOP through Newman and by

Veciana’s date of birth. Compl. Ex. 14, ECF No. 1-1 at p. 89. The letter, however, also reported

that USPC had only searched for four name variations: “Manuel Carlos, Manuel Antonio,

Manuel Veciana and Manuel Blanche.” Id.

       Newman responded by letter dated 12 November 2020 observing that the USPC letter of

5 November 2020 indicated that only four name variations had been used in the searches. Compl.

Ex. 15, ECF. No. 1-1 at p. 90. Newman told USPC that the most common name for Veciana was

“Antonio Veciana” and again asked it to search using “Antonio Veciana” and all reasonable

variations of the five names. Id.

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       USPC did not respond to the 12 November 2020 letter until after the complaint was filed

in this case. On 5 January 2021 USPC wrote again reporting that a search had been conducted

“for the following names in our records: Manuel Antonio, Manuel Carlos, Manuel Veciana and

Manuel Blanche.” The letter also attached a printout of the search conducted in “our search

engine for both our current system and our Legacy system.” The printout provided with the

letter indicated that only the four name variations reported in the letter were searched by USPC,

all beginning with the first name “Manuel”. Hardway Decl. ¶ 17 & Ex. G.

                                         ARGUMENT

I. LEGAL STANDARDS GOVERNING SUMMARY JUDGMENT, ADEQUACY OF
      SEARCHES AND SUPPORTING DECLARATIONS.

       A.     FOIA Summary Judgment Standard.

       The FOIA "requires federal agencies to make Government records available to the public,

subject to nine exemptions for categories of material." Milner v. Dept. of Navy, 562 U.S. 562,

565 (2011). Ultimately, "disclosure, not secrecy, is the dominant objective of the act." Dept. of

Air Force v. Rose, 425 U.S. 352,361 (1976). Agency actions under the FOIA are subject to de

novo review. 5 U.S.C. § 552(a)(4)(B); DiBacco v. U.S. Army, 795 F.3d 178, 188 (D.C. Cir.

2015). Summary judgment is only appropriate if "the pleadings, the discovery and disclosure

materials on file, and any affidavits show that there is no genuine issue as to any material fact

and that the movant is entitled to judgment as a matter of law." Hall v. C.I.A., 668 F.Supp.2d

172, 178 (D.D.C. 2009)(“Hall 1”).

       B.     Adequacy of Searches Standard

       The agency has the burden of showing “that it made a good faith effort to conduct a

search for the requested records, using methods which can be reasonably expected to produce the

information requested." Oglesby v. U.S. Department of the Army, 920 F.2d 57, 68 (D.C. Cir.
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1990). The agency may satisfy that burden by submitting "[a] reasonably detailed affidavit,

setting forth the search terms and the type of search performed, and averring that all records

likely to contain responsive materials (if such records exist) were searched." Id. Such affidavits

have to be reviewed in light of the whole record of the case and, if there is “substantial doubt,

particularly in view of ‘well defined requests and positive indications of overlooked materials,’

summary judgment is inappropriate.” Valencia-Lucena v. U.S. Coast Guard, 180 F.3d 321, 326

(D.C. Cir. 1999) (quoting Founding Church of Scientology v. National Sec. Agency (“Founding

Church”), 610 F.2d 824, 837 (D.C.Cir.1979) .

       To adequately describe a search so as to serve as a basis for summary judgement, the

agency’s declarations must, at a minimum, 1) describe the search terms and the types of searches

performed, Oglesby, 920 F.2d at 68; 2) describe the search strategies of the components of the

agency charged with conducting the search and a description of the results of the search, Morley

v. CIA, 508 F. 3d 1108, 1122 (D.C. Cir. 2007); 3) provide an explanation of how the agency

components conducted the search, Aguiar v. Drug Enforcement Administration, 865 F.3d 730,

738-39 (D.C. Cir. 2017); and 4) provide sufficient detail to allow the plaintiff to “challenge the

procedures utilized,” Weisberg v. DOJ, 627 F.2d 365, 371 (D.C. Cir. 1980).            A detailed

declaration is necessary so as to afford the “FOIA requester an opportunity to challenge the

adequacy of the search and to allow the district court to determine if the search was adequate in

order to grant summary judgment." Oglesby, 920 F.2d at 68. When the adequacy of an agency’s

search is in dispute, summary judgment for the agency is inappropriate to that issue. Founding

Church, 610 F.2d at 836-837; Truitt v. Department of State, 897 F.2d 540 (D.C. Cir. 1990).

       The agency handling the FOIA request alone possesses knowledge of the precise content

of its records systems and, consequently, "[t]he significance of agency affidavits in a FOIA case

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cannot be underestimated." King v. United States Department of Justice (King), 830 F.2d 210,

218 (D.C. Cir. 1987). Thus, the FOIA requester and the court both must rely upon the agency’s

representations in the declaration. The agency's statements are critical because the resulting

“‘lack of knowledge by the party see[k]ing disclosure seriously distorts the traditional adversary

nature of our legal system's form of dispute resolution,' with the result that 'the trial court, is

completely without the controverting illumination that would ordinarily accompany’” a fully

adversarial confrontation in a case with full discovery and fully informed parties on both sides of

the case. Id., quoting Vaughn v. Rosen, 484 F.2d 820, 824-825 (D.C. Cir. 1973). As King aptly

stated: “Specificity is the defining requirement of the … affidavit; affidavits cannot support

summary judgment if they are ‘conclusory, merely reciting statutory standards or if they are too

wide or too sweeping.’" King, 830 F.2d at 219 (citations omitted).

II.    USPC HAS NOT SHOWN BEYOND MATERIAL DOUBT THAT IT CONDUCTED
       AN ADEQUATE SEARCH OF LOCATIONS WHERE RECORDS RESPONSIVE TO
       NEWMAN’S REQUEST ARE REASONABLY LIKELY TO BE LOCATED.

       USPC’s declaration goes to great lengths describing searches in databases and records

systems that may not be reasonably likely that responsive records may be found. Much of the

declaration describes searches of a database system that, apparently, contains only recent

records. USPC’s EntelliTrak system has records of files that had not been destroyed that were

entered into the system on June 1, 2018, Thornton Decl. ¶ 13, ECF No. 17-4 at p. 3. Additional

effort was spent on description of a search of “USPC’s physical file library containing every

hardcopy file that is still active.” Id. at ¶ 16, p. 4 (emphasis added). While USPC nowhere

defines what it means by a file being “active,” it also never explains why it would be reasonable

to think that Veciana’s file would still be active, or had been active as of June 1, 2018. A search

of only active files is hard to classify as being reasonably calculated to find records in locations

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where they were likely to exist if the files have been retired. The declaration’s lack of specificity

and obscure description make it very hard to determine if the database and file library were even

relevant to a search for documents responsive to Newman’s request.

       After the filing of the Complaint in this case, USPC finally turned its attention to looking

for responsive records in locations where they are likely to exist but did not avail themselves of

searches reasonably designed to find responsive records in those locations. The first area

searched that may have been reasonably likely was the USPC’s archive transfer receipt and file

distribution receipt hardcopy files assuming that such hardcopy files contained records from the

period in which Veciana’s file may have been transferred and/or destroyed. USPC’s declaration

does not provide any testimony in regard to the time extent of USPC’s holdings in these two

records systems or their manner of organization except to say that they are “kept in the same file

cabinet.” Id. at ¶ 31, 31, p. 7. Likewise, the USPC’s Declarant does not indicate what search

parameters were used in searching the hardcopy records in the “same file cabinet” other than to

report that the searchers were looking for “receipts related to ‘Manuel Antonio Carlos Veciana.”

Id.

       After the Complaint in this case was filed, the USPC appears to have realized that records

responsive to Newman’s request were much more likely to be found at the Washington National

Records Center (“WNRC”), a facility of the National Archives and Records Administration

(“NARA”) than at USPC’s offices. Id. at ¶ 20, p. 5. This “receipt” would have been an SF-135.

Pl. SUMF ¶ 4. This late realization by USPC about where responsive files might be located led

the USPC to request the WNRC to search for records using Veciana’s full name and register

number. Id. at ¶ 28, p. 7. According to USPC, however, WNRC advised that it could not search

its records by name or register number but, rather, needed the “transfer number” as provided on

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Form SF-135. Id. at ¶ 29, p. 7. This led the USPC to finally search of its hardcopy SF-135’s

although we do not know if those internal records actually extend to the time relevant in this

case. Id. at ¶ 30, p. 7. All USPC “active transfer receipts are kept in the same file cabinet in the

USPC sole office.” Id. We are not told the date range of the “active” receipts that are kept in

that one file cabinet, but we know that the records manager was able to search them for receipts

“related to” Veciana. Id. We are not told what search criteria was used to look for such related

receipts. We are not told whether the receipts have attached box lists such as that in Def. Ex. D

from the BOP. ECF 17-8 at p. 3. This search was designed, apparently, to try to locate a transfer

number so that WNRC could then conduct a search of records transferred there by USPC.

        USPC also now says that its record manager at that time also searched its internal archive

disposition receipt file for receipts “related to Veciana.” Id. at ¶ 31. Again, the documents in

this “same file cabinet” yielded no results although we are again not provided any details about

the time frame of the receipts held, the search parameters, or the nature of information available

on the receipts searched. Id. For example, it appears that the only search parameter used was

Veciana’s full name. It does not appear that variations of those names, or the order in which they

are used, was searched. Similarly, it does not appear that any search was made by register

number or for receipts covering the period when Veciana’s file would have been expected to

become inactive. After searching these two file collections in its office, USPC gave up the

search. USPC now offers speculation that “at some point in the USPC’s history the USPC failed

to maintain a file transfer receipt and file destruction receipt” for Veciana’s file. Id. at ¶ 32, p. 8.

        Forms SF-135 are not, themselves, records of the actual files transferred by a transferring

agency unless they have an attachment listing the files actually transferred, a “box list.” See,

e.g., Def. Ex. D, ECF 17-8 at pp. 2-3; Hardway Decl. Ex. A. In this case the USPC does not tell

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us anything about the nature of the Forms SF-135 it maintains other than that they all fit in the

same file cabinet. We are not told whether the USPC regularly sends each file on a parolee

separately to the WNRC when that file becomes inactive so that there would be a separate SF-

135 for each parolee. It may be forgivable speculation to wonder if that were the case whether

all those SF-135s would fit in the “same file cabinet.” Alternatively, USPC does not tell us if it

transfers parolee files to WNRC by batches on a periodic basis. We are not told, but, if transfers

are made on a periodic basis, it should not be hard to identify by date the transfers that may have

included any file on Veciana based on the date that he ended his court-ordered supervision. If

the files are transferred periodically, we are not told whether the Forms SF-135 listed the actual

files transferred. We know, for example, that the Atlanta Penitentiary closed and transferred files

by year with a box list attached listing the names of the persons whose files were transferred.

Govt. Ex. D, ECF 17-8 at pp. 2-3. Even if the Forms SF-135 maintained by USPC do not have a

box list attached, the transfer numbers from the Forms closest in time to the date when Veciana’s

file became inactive could have been provided to the WNRC to allow them to search their

database for disposition records.

       More importantly, USPC did not search, nor did it disclose, that duplicate copies of

USPC’s SF-135s are kept by the WNRC. The WNRC is the first place to which retired agency

records are transferred and most of the records held at the facility remain under the control of the

transferring agency rather than NARA.        Hardway Decl. ¶ 15 & Ex. A. When a record is

transferred by an agency to the WNRC, the transferring agency generates a Records Transmittal

and Receipt, Standard Form 135 (“SF-135”), some of which have a box list attached. Id.;

Thornton Decl. ¶ 20, ECF No. 17-4 at p. 5; Def. Ex. D, ECF No. 17-8. Before records transferred

to WNRC are destroyed, WNRC sends the transferring agency a Notice of Eligibility for

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Disposal from NARA that notifies the transferring agency that the term of retention of the file is

expiring under the relevant records disposition schedule. Def. Ex. B, ECF No. 17-6 at p. 5;

Thornton Decl. ¶ 31, ECF No. 17-4 at p. 7. The decision to then destroy the file or retain it is

made by the transferring agency. Id. WNRC maintains copies of the Forms SF-135 organized

by Record Group and year. Hardway Decl. ¶ 7 & Ex. B. A Record Group comprises the records

of a major government entity, usually a bureau or an independent agency. Id. at ¶¶ 7 & 8, Exs. B

& C. USPC has a separate unique Record Group number: RG 438. Id. Forms SF-135, with any

attached box list, maintained by WNRC are available in hard copy files at the WNRC. Hardway

Decl. Ex. A. Those files are open to the general public for research and review when the facility

is not closed due to Covid as it now is. Id. Most records maintained at WNRC remain under the

control of the transferring agency. WNRC will not allow public access to most records without a

written request and authorization from the transferring agency for such access. Id. WNRC is

currently closed to the public due to Covid restriction but remains open to government

employees with business to conduct there. Id.; Ex. B.

       USPC could have easily searched WNRC’s backup copy of USPC’s Forms SF-135 but

simply chose not to do so. WNRC’s copies could be easily searched because the Forms SF-135

held at the WNRC are segregated by agency and year. Indeed, if the facility was not closed to

the public Newman or his representatives could have searched these records to further show the

inadequacy of the USPC’s search for responsive records.

       USPC’s EntelliTrak electronic database is: 1) not the only electronic database available to

USPC; and 2) not the electronic database most likely to contain information about Veciana.

USPC’s GIS, in the correspondence with Newman, mentions “Legacy systems” but the USPC

declaration says nothing about any legacy system. It is known, however, that USPC, prior to

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1985, set up an electronic database known as the “Parole Decision History.” Pl. SUMF ¶ 14.

Under the relevant Records Disposition Authority (“RDA”), this system’s master file is to be

maintained as a permanent record by USPC with copies sent to NARA every five years.

Hardway Decl. Exs. D & E. This database contains records identified and searchable by a

parolee’s federal register number. Id. Each parolee’s entry in this system “contains

approximately forty items, including sentence parameters (e.g., sentence length and type, parole

decision parameters (e.g., offense severity and salient factor score) [sic], and the results of the

paroling consideration.”   Hardway Decl. Ex. D. The name of the Parole Decision History

(“PDH”) was changed to the “Decision Reporting and Monitoring System” (“DRMS”) in 2000.

The format of the growing database was also changed but the master file remained a permanent

record with copies sent to NARA every five years. Pl. SUMF ¶¶ 14 & 15, Exs. D & E.             The

information in this database regarding Veciana would be responsive to Newman’s request for

information related to Veciana’s parole. USPC has not provided any testimony that this database

has been searched.

       The FOIA requires a responding agency to make “a good faith effort to conduct a search

for the requested records, using methods which can be reasonably expected to produce the

information requested." Oglesby, 920 F.2d 57, 68. That includes searching for records in the

location where they may reasonably be expected to be found. While at this point it is equally

speculative to say that USPC’s file on Veciana does or does not exist, if it does exist it remains

under the control of the USPC and is likely to be located somewhere in the NARA system.

USPC has not searched that system because USPC claims to be unable to locate a “transfer

number” needed by the WNRC to conduct such a search. While USPC claims to have performed

some type of search of their in-house hardcopy SF-135 file cabinet in carefully couched language

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for “any receipts related to ‘Manuel Antonio Carlos Veciana Blanche,’” they have not searched

the WNRC Forms SF-135 which are more likely to contain the necessary information.

       In regard to the in-house search USPC has done, we are not told whether such search

included a search for receipts generated in 1984, 1985 or 1986. We are not told, if there are such

receipts, why they are not related to Veciana. We are not told why USPC presumes they have

failed to maintain a file receipt that would have covered the transfer of Veciana’s parole file to

the WNRC. But the USPC has not searched the WNRC Forms SPF-135 to see if they can locate

WNRC’s Form SPF-135 related to the transfer of Veciana’s file so as to obtain a transfer number

that would allow WNRC to search its records on the disposition of those transferred files. It is

surely not reasonable for USPC to not search this backup system so as to be able to search the

place it speculates is the most likely place responsive records may be located: WNRC or another

NARA facility. If such a search is conducted and all that is found is a record of the transfer and

destruction of Veciana’s parole file, then that record is itself responsive to Newman’s Request

numbered “J.” It is also not unreasonable for the USPC to search its permanent DRMS database,

or NARA’s copy of that database, using Veciana’s federal register number as the information in

that system is likely to be responsive to Newman’s request.         The USPC has searched an

electronic database that has information about files that they had “records” of on 1 June 2018,

but has not searched a database that has likely responsive records closer in time to when

Veciana’s parole file should have been active.

       An agency “fulfills its obligations under FOIA if it can demonstrate beyond that its

search was reasonably calculated to uncover all relevant documents.” Ancient Coin Collectors

Guild v. U.S. Dep’t of State, 641 F.3d 504, 514 (D.C. Cir. 2011) (citations and internal quotation

marks omitted). In this case, USPC conducted fruitless searches of records systems not likely to

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contain responsive records without searching an older electronic database and WNRC’s records

under USPC’s control that would be much more likely to contain responsive records. Once

USPC realized that WNRC was the more likely place to search for records, it made a brief,

perfunctory, effort to search its records for the information WNRC needed to be able to conduct

a search. Because this search of USPC’s internal hardcopy records did not turn up anything

specifically “related to ‘Manuel Antonio Carlos Veciana Blanche,’” USPC speculates that it

“failed to maintain a file transfer receipt” in its internal files but that “the [Veciana parole] file

should have been destroyed.” Thornton Decl. ¶ 32, ECF No. 17-4 at p. 8. USPC speculated

instead of conducting a search of the backup copies of Forms SF-135 maintained by WNRC.

USPC hopes that its speculation based on this incomplete search will be the end of the

discussion. USPC has not demonstrated beyond material doubt that its search was reasonably

calculated to uncover all relevant documents. A reasonable search, as shown by the record

herein, would have included, at a minimum, a search of USPC’s PDH and DRMS databases as

well as WNRC’s RG-438 Form SF-135.

III.    THE USPC DECLARATION FILED IN THIS CASE FAILS TO MEET THE
        STANDARDS NECESSARY TO SUPPORT A MOTION FOR SUMMARY
        JUDGMENT.

        To meet its burden in this case “the agency may submit affidavits or declarations that

explain in reasonable detail the scope and method of the agency’s search. Perry v. Block, 684

F.2d 121, 126 (D.C. Cir. 1982). There has to be enough proffered facts in an agency declaration

supporting a motion for summary judgment from which the Court may determine whether the

agency has made "a good faith effort to conduct a search for the requested records, using

methods which can be reasonably expected to produce the information requested." Oglesby, 920

F.2d at 68. "At a minimum, the agency must "specify 'what records were searched, by whom,

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and through what process,'" Rodriguez v. Dep't of Defense, 236 F. Supp. 3d 26, 38 (D.D.C. 2017)

(quoting Steinberg v. Dep't of Justice, 23 F.3d 548, 552 (D.C. Cir. 1994)).

       In this case, the USPC declaration filed in support of the agency’s motion for summary

judgment does not rise to the standard necessary to support the motion. The declaration recounts

the searches conducted in a summary fashion without giving specific details as to parameters of

the search. USPC’s declaration makes much of reporting efforts to search records that would not

be likely to contain responsive records such as the EntelliTrak database. But even the description

of that database is ambiguous in that it is not at all clear from the declaration the time frame of

records covered by, or recoverable from, that database. USPC avers that the EntelliTrak system

contains “[a]ll USPC files that had not been destroyed in accordance with record keeping

directives and policies were entered” as of June 1, 2018. Thornton Decl. ¶ 13, ECF No. 17-4 at

p. 3. USPC, which insists that Veciana’s files should have been destroyed in 1991, offers no

explanation about why the EntelliTrak system was searched repeatedly while never mentioning

the DRMS, a database much more likely to contain responsive records.

       Only after the Complaint was filed in this case, did USPC realize that WNRC was a more

likely repository for any documents responsive to Newman’s request than were the records at

USPC’s offices. Thornton Decl. ¶ 28, ECF 17-4 at p. 7. Only then did USPC contact the

WNRC to request that it search its records for responsive documents. Id. WNRC, however,

advised that it needed the transfer number from the Form SF-135 covering Veciana’s file transfer

in order to search its records. Id. at ¶ 29, p. 7. The USPC declaration then describes the USPC’s

record manager’s search of a “file cabinet” containing hardcopies of “archive transfer receipts,”

presumably Forms SF-135 although that detail is not provided, and a file containing “archive file

disposition receipts.” Id. at ¶¶ 30 & 31, p. 7. Absolutely no information is provided about the

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nature of the holdings in “the same file cabinet” or the parameters of the search conducted. We

are not told the coverage of the files in that file cabinet as to inclusive dates of records, nor are

we told how the search was conducted. We are not told whether the records manager searched

only for a document containing Veciana’s full name, although that may be a reasonable inference

from what we are told. We are not told whether the record manager searched the whole “sole

file cabinet, or only drawers or files covering specific years or initials. We are not told the time

frame covered by either the records searched or the search itself. We know that USPC

miscalculated the date on which Veciana’s file would have become inactive. See Id. at ¶ 11, p. 3;

Pl. SUMF ¶¶ 1 & 2. It is possible that the records manager’s search yielded no results because

the files chosen for search were based on the miscalculated year in which USPC’s Veciana’s file

would have become inactive. We do not know because the declaration does not give us enough

information to be able to know. We are not told whether the Forms SF-135 from either the

miscalculated or the actual year of the retirement of Veciana’s file were actually available to

search in USPC’s “same file cabinet”?

       One requirement for an adequate declaration is an avowal “that all records likely to

contain responsive materials (if such records exist) were searched.” Oglesby, 920 F.2d at 68. In

this case it is known that WNRC maintains a backup copy of USPC’s Forms SF-135, which are

likely to contain responsive records but those records have not been searched. Likewise, there

are electronic databases which are designated as permanent records under the relevant RDA that

have not been searched: the PDH and DMRS databases. These databases are much more likely

to contain responsive systems than is the electronic system actually searched. The declaration in

this case does not mention these systems.




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       The declaration filed by USPC in this case lacks the specificity that is the defining

requirement of agency declarations necessary to support summary. The USPC’s declaration is

conclusory, merely reciting statutory standards and generalities without providing the detail

necessary to support the agency’s claim that an adequate search was conducted. Repeatedly at

critical points the USPC declaration lacks clarity, detail and specificity. USPC has failed to

provide a declaration adequate to support its motion for summary judgment. “Specificity is the

defining requirement of the … affidavit; affidavits cannot support summary judgment if they are

‘conclusory, merely reciting statutory standards or if they are too wide or too sweeping.’" King,

830 F.2d at 219 (citations omitted).

IV.    THERE ARE GENUINE ISSUES OF FACT IN THIS CASE RAISED BY THE
       RECORD HEREIN.

       Summary judgment is not appropriate in an FOIA case if there are genuine issues of

material fact pending in the case. Summary judgment is appropriate only if "the pleadings, the

discovery and disclosure materials on file, and any affidavits show that there is no genuine issue

as to any material fact and that the movant is entitled to judgment as a matter of law." Hall 1,

668 F.Supp.2d at 178.      Summary judgment is also inappropriate when there are positive

indications of overlooked materials in the record. Valencia-Lucena, 180 F.3d at 326.

       At this point in the litigation, it is not possible to determine all the facts that may be in

issue because the Defendants have yet to respond to Newman’s statement of uncontested facts

filed herewith, but it is possible to identify many currently existing issues of material fact. One

critical fact about which there is conflict is Veciana’s term of supervision. The calculation of the

date of his release from supervision determines the date upon which his file would become

inactive. That date then determines the time frame for a reasonable search for records responsive

to Newman’s request, including records of destruction of any file USPC may have had. USPC
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calculates that date based on Veciana serving a seven-year sentence after conviction in Case No

73 CR 793. Thornton Decl. ¶ 8, ECF No. 17-4 at p. 2.

        Plaintiff, on the other hand, has offered evidence directly contradicting the assertion by

USPC and showing that Veciana was convicted in Case No. 74 CR 7 and was sentenced to a ten-

year period of supervision consisting of seven years of incarceration and three years of Special

Parole. Compl. Ex. 5, ECF No. 1-1 at p. 41. The Defendant BOP’s records submitted as

exhibits by the government in this case support Newman’s calculation of the period of

supervision, showing that Veciana’s BOP file became inactive at the end of 1984 and was

transferred to NARA in 1985. See Gov’t Ex. B, ECF No. 17-6 at pp. 5 & 7; Gov’t Ex. D, ECF

No. 17-8 at p. 2. Thus, there are facts of record in direct conflict on this material issue in the

case. The date of 1981 (USPC calculation) or 1984 (Newman and BOP’s calculation) indicate

the time frame for the search for responsive records. Due to lack of detail in USPC’s declaration

it is not possible to determine what time frame was used by USPC’s record manager in the

search of USPC’s hardcopy receipt files. It is likely, however, that the record manager may have

relied on USPC’s miscalculation of this date and, consequently, did not search in the appropriate

time frame. We cannot tell because of the lack of detail in the declaration. In any event,

summary judgment is not appropriate given that this conflict in evidence which exists in the

record is material to the central issue in this case at this stage in the litigation: whether the search

conducted by USPC was adequate under FOIA standards.

        There is also a conflict in the record about what name combinations were used by USPC

in searching for records responsive to Newman’s request. The USPC has now averred that it

initially searched by the terms “’Manuel,’ ‘Antonio,’ ‘Carlos,’ ‘Veciana,’ and ‘Blanche’” in its

EntelliTrak system, Thornton Decl. ¶ 14, ECF No. 17-4 at p. 3, and for the names “Blanche” and

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“Veciana” in its physical file library containing active cases. Id. at ¶ 16, p. 4. In subsequent

searches USPC avers that it searched “by every first name and last name combination.” Id. at ¶

17, p. 4. USPC avers that its first search for every name combination did not occur until after

Newman had provided Veciana’s federal register number on 27 October 2020, Id., even though

Newman had requested such a search in his initial request, Compl. Ex. 7, ECF No. 1-1 at p. 51.

Newman again requested a full name variation search on 15 August 2020, Compl. Ex. 10, ECF

No. 1-1 at pp. 66-67.

       USPC’s avowal that all name combinations were searched after 27 October 2020 is

contradicted in the record by contemporaneous correspondence between USPC’s GIS and

Newman. USPC’s declaration does not tell us whether the “record manager” that conducted

searches in this case and the GIS that corresponded with Newman about this is the same person.

In a 5 November 2020 letter to Newman, the USPC’s GIS advised that USPC had “searched the

following names in our records: Manuel Carlos, Manuel Antonio, Manuel Veciana and Manuel

Blanche.” Compl. Ex. 14, ECF No. 1-1 at p. 89. These are clearly not all the reasonable name

combinations.

       Newman responded to the USPC’s GIS by letter dated 12 November 2020, advising that

he was uninformed about whether the four name combinations reported in the 5 November 2020

letter “is all the name combinations you have used in your search as you have not indicated that

any other name combinations have been searched.” Id. at Ex. 15, p. 90. Newman went on to

explain his request for a more extensive name search in detail: “Mr. Veciana commonly went by

the names ‘Antonio Veciana’ and ‘Antonio Veciana Blanche.’ If you have not searched those

name combinations, I request that you do so. In addition, I would request that you search for the

specific name as recorded on the BOP form, i.e., ‘Blanche Veciana, Manuel Antonio Carlos’ and

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its most logical variation: ‘Manuel Antonio Carlos Blanche Veciana.’ Also please search for

‘Antonio Blanche,’ ‘Antonio Blanche Veciana’ and any other reasonable combination of the five

names he used.” Id. The GIS for USPC answered by letter dated 5 January 2021 and again

stated: “We have searched once again for the following names in our records: Manuel Antonio,

Manuel Carlos, Manuel Veciana and Manuel Blanche.” Hardway Decl. Ex. G. In addition, a

printout was provided for the results of the database search for those four names. Id. Hence,

there is a contradiction between the statements made by USPC at the time the searches were

conducted and what the USPC Declarant is now saying about the name parameters of the

searches conducted. Throughout the history of this FOIA request at the administrative level

Newman has repeatedly requested a full name variation search. Throughout the history of this

FOIA request at the administrative level, the USPC has consistently reported partial name

searches until now averring that name combinations were used on some of the later searches.

This is a material factual conflict going directly to a central issue in the case: was the search

conducted by USPC for responsive records reasonably designed to find potentially responsive

records.

       The material fact of whether the search conducted by USPC was adequate is strongly

contested by Newman as shown in the foregoing discussions regarding the adequacy of that

search and the USPC’s supporting declaration. In this regard it must also be noted that Newman

is handicapped by the elliptical, obtuse and cryptic nature of the declaration and its lack of detail

and specificity. The nature of the declaration in this case does not afford “the FOIA requester the

opportunity to challenge the adequacy of the search” nor to be able to identify actual facts relied

upon by the USPC so as to be able to contest them. Oglesby, 920 F.2d at 68. This lack of

knowledge created by the nature of the declaration filed, “seriously distorts the traditional

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adversary nature of our legal system’s form of dispute resolution with the result that the trial

court is completely without the controverting illumination that would ordinarily accompany” a

fully adversarial confrontation in a case with full discovery and fully informed parties on both

sides of the case. King, 830 F.2d at 218 (internal citations and quotation marks omitted).

                                         CONCLUSION

        For all of the foregoing reasons USPC’s Motion for Summary Judgment should be denied

and USPC should be ordered to conduct a full and reasonably designed search for responsive

records to Newman’s FOIA request. In the alternative, additional briefing in this case should be

held in abeyance until such time as WNRC is open to public access thereby allowing Newman or

his representatives to conduct the searches USPC has not conducted at that facility while also

allowing the parties time for discovery aimed at further developing the record on the material

facts in issue in this case.

                                             Respectfully submitted,

                                             /s/ Dan L. Hardway
                                             _____________________________
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